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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                                Criminal No. 17-64 (DWF/KMM)

                     Plaintiff,

v.                                                       ORDER ADOPTING REPORT
                                                          AND RECOMMENDATION
Edward S. Adams,

                     Defendant.


       This matter is before the Court upon Defendant Edward S. Adams’ (“Defendant”)

objections (Doc. No. 222) to Magistrate Judge Katherine M. Menendez’s September 17,

2018 Report and Recommendation (Doc. No. 221) insofar as it recommends that:

(1) Defendant’s Motion to Suppress be denied; (2) Defendant’s Motion to Dismiss

Counts 15B17 of the Superseding Indictment, or in the Alternative, for a Bill of

Particulars be denied; (3) Defendant’s Motion to Dismiss the Superseding Indictment, or

in the Alternative for Disqualification, for Privilege Violations be denied; and (4) that an

Order be issued which prohibits the government from using at trial any documents

submitted in In Camera Exhibits A through U that are ultimately deemed privileged.

The Government filed a response to Defendant’s objections on October 15, 2018. (Doc.

No. 223.)

       The factual background for the above-entitled matter is clearly and precisely set

forth in the Report and Recommendation and is incorporated by reference for purposes of

Defendant’s objections. Pertinent to the present objections, the Magistrate Judge

considered three pretrial motions filed by Defendant, wherein Defendant sought:
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(1) suppression of information obtained by the government from his Yahoo! e-mail

accounts pursuant to a federal search warrant; (2) dismissal of the indictment, or in the

alternative, disqualification of the prosecution team because agents and prosecuting

attorneys reviews privileged communications; and (3) dismissal of Count 15-17 of the

indictment (charging him with tax fraud), or in the alternative, requiring the government

to file a bill of particulars.

       In the Report and Recommendation, the Magistrate Judge acknowledged that the

government’s execution of the search warrant and efforts to protect Defendant’s

attorney-client privileged communications were imperfect. The Magistrate Judge,

however, also determined that the government did not improperly review e-mails or other

materials that were beyond the scope of the search permitted by the Yahoo! warrant, and

that the remedies of complete suppression, dismissal, and disqualification were not

justified. More particularly, the Magistrate Judge concluded that: Defendant is not

entitled to dismissal of the indictment pursuant to the Sixth Amendment because his right

to counsel had not yet attached; Defendant failed to demonstrate that his Fifth

Amendment right to due process was violated by the government’s pre-indictment

intrusion into his privileged communications; Defendant failed to demonstrate a

systematic and persistent abuse of power that would warrant dismissal of the indictment;

disqualification of the current prosecution team is unwarranted, and the disqualification

of Mr. Maria, Inspector Kroells, and Investigator Belich is not necessary to ensure


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Defendant receives a fair trial; despite the fact that the Magistrate Judge found no

due-process or Sixth Amendment violations, the government should be prohibited from

using at Defendant’s upcoming trial any privileged communications between himself and

his attorneys; Defendant’s motion to suppress be denied because the Yahoo! warrant was

sufficiently particularized and was not constitutionally overbroad and because the

warrant’s execution was neither unreasonable under the Fourth Amendment nor in

reckless disregard of Federal Rule of Criminal Procedure 41; and the indictment should

not be dismissed for failure to provide Defendant notice of the tax charges again him and

that a bill of particulars is not necessary.

       Defendant now objects to the Magistrate Judge’s recommendation, and in

particular, the Magistrate Judge’s denial of suppression of roughly 37,000 e-mails that the

government has not reviewed, as well as 750 documents that Defendant maintains lie

outside of the warrant’s request because the documents relate to Defendant’s personal

matters or business interests not implicated in any alleged crime. More broadly,

Defendant argues the Court should suppress all documents seized by the government

because the warrant and search violated the Fourth Amendment and Rule 41. In

addition, Defendant maintains that Defendant’s motion to dismiss, or in the alternative to

disqualify, should be granted because the government violated Defendant’s constitutional

rights and Defendant has demonstrated prejudice. At a minimum, Defendant argues that

the tax charges against him should be dismissed because the government was on notice


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that communications with Murray LLC were potentially privileged making further review

of communications deliberate and outrageous. In addition, Defendant takes issue with

the Magistrate Judge’s finding that the tax charges were forthcoming independent of the

review of Defendant’s e-mails. The Government responds to Defendant’s objections,

arguing that the Magistrate Judge correctly recommended that Defendant’s motion to

suppress be denied, that Defendant’s motions requesting dismissal be denied, and that the

Magistrate Judge’s denial of a request for a bill of particulars and for disqualification be

affirmed as they were not contrary to law or clearly erroneous.

       The Court has conducted a de novo review of the record as to Defendant’s motions

pertaining to dispositive matters, including a review of the arguments and submissions of

counsel. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b)(3). In addition, the Court

considers objections to the Magistrate Judge’s ruling on nondispositive matters and will

modify or set aside any part of such an order that is contrary to law or clearly erroneous.

28 U.S.C. § 636(b)(1)(A); Fed. R. Crim. P. 59(a). The Court notes that the issues

presented in the pending objections have been briefed extensively by the parties and

addressed thoroughly by Magistrate Judge Menendez in a 94-page Report and

Recommendation after the Magistrate Judge presided over a two-day evidentiary hearing.

After carefully considering Defendant’s objections, the Court finds no reason to depart

from Magistrate Judge Menendez’s carefully considered Report and Recommendation.

Indeed, the Court concludes that there was no government misconduct that would warrant


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Defendant’s requests for suppression, dismissal, or disqualification. Accordingly, and

based upon the Court’s review of the record and the arguments and submissions of the

parties and the Court being otherwise duly advised in the premises, the Court hereby

enters the following:

                                        ORDER

       1.     Defendant Edward S. Adams’ objections (Doc. No. [222]) to Magistrate

Judge Katherine M. Menendez’s September 17, 2018 Report and Recommendation are

OVERRULED.

       2.     Magistrate Judge Katherine M. Menendez’s September 17, 2018 Report

and Recommendation (Doc. No. [221]) is ADOPTED.

       3.     Defendant’s Motion to Suppress (Doc. No. [36]) is DENIED.

       4.     Defendant’s Motion to Dismiss Counts 15B17 of the Superseding

Indictment, or in the Alternative, for a Bill of Particulars (Doc. No. [140]) is DENIED.

       5.     Defendant’s Motion to Dismiss the Superseding Indictment, or in the

Alternative for Disqualification, for Privilege Violations (Doc. No. [141]) is DENIED.

       6.     The government is prohibited from using at trial any documents submitted

in In Camera Exhibits A through U that are ultimately deemed privileged.

Dated: December 10, 2018          s/Donovan W. Frank
                                  DONOVAN W. FRANK
                                  United States District Judge




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